File No: 054021 .000018

Case 6:21-cv-00331-ADA Document 8 Filed 05/07/21 Page 1of1

Venue: United States District Court, Western District of Texas

IGT, ET AL.

Plaintiff
vs.
ZYNGA INC.

Defendant

AFFIDAVIT OF SERVICE

DOCKET NO.: 6:21-CV-00331-ADA

 

Person to be served:

ZYNGA INC. Attn: Corporation Service Company
251 Little Falls Dr

Wilmington, DE 19808-1674

Attorney:

Baker Law

Cira Centre 2929 Arch Street 12th Floor
Philadelphia, PA 19104-2891

Papers Served:
Summons & Complaint with exhibits

Service Data:
Served Successfully: [vf Not Served: LC

L] Delivered copy to him/her personally.

L] Left a copy with a competent household member 14

years of age or older residing therein (indicate name and

relationship at right)

[vf Left a copy with a person authorized to accept service,

e.g. managing agent, registered agent, etc. (indicate
name and relationship at right)

Description of Person Accepting Service:

Date: 4/12/2021 Time: 2:16PM Attempts: 1

Name of Person Served and relationship / title:
John Doe - Security Guard

Actual Place of Service:
251 Little Falls Dr
Wilmington, DE 19808-1674

Sex: Male | Age: 35 | Height: 6'1" | Weight: 175 | Hair: Bald | Race/Skin Color: African American Eyes: Brown

Comments or Remarks:

Server Data:
Subscribed and sworn to before me, by the affiant who is personally

on this date of 04/13/2021
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|, Mark Hagood, was at the time of service a
competent adult not having a direct interest in the
litigation. | declare under penalty of perjury that the

Re is true and correct.
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